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                    EXHIBIT 2
Case 2:18-cv-11086-SFC-PTM ECF No. 19-3, PageID.976 Filed 07/10/18 Page 2 of 3




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

TEMUJIN KENSU, INDIVIDUALLY
AND ON BEHALF OF ALL OTHERS
SIMILARLY SITUATED,

                Plaintiff,

      v.                                       Case No. 2:18-cv-11086-SFC-PTM

JPAY INC.,                                     Hon. Sean F. Cox
                                               Mag. Judge Patricia T. Morris
                Defendant.


             DECLARATION OF ELIZABETH HERRINGTON

      I, Elizabeth Herrington, hereby certify pursuant to 28 U.S.C. § 1746 that the

factual statements set forth below are true and correct to the best of my knowledge,

information, and belief:

      1.     I am an attorney at law and a partner in the law firm of Morgan, Lewis

& Bockius LLP, attorneys of record for Defendant JPay Inc. (“JPay”). The facts

stated herein are within my personal knowledge and if called to testify, I could and

would competently do so as set forth herein.

      2.     On April 4, 2018, Plaintiff Temujin Kensu filed a Class Action

Complaint for Declaratory Relief, Injunctive Relief and Damages in the United

States District Court, Eastern District of Michigan against JPay.
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      3.     On June 1, 2018, I contacted counsel for Plaintiff via telephone to

inform him of Defendants’ intent to file a motion to compel arbitration of his

claims, and a motion to dismiss, and requested that Plaintiff voluntarily dismiss his

Complaint and initiate arbitration of his claims pursuant to the Terms of Use.

      4.     Plaintiff has declined to voluntarily dismiss his Complaint and initiate

arbitration pursuant to the Terms of Use.

      I declare to under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.




Executed on June 1, 2018.
                                       /s/ Elizabeth Herrington
                                       Elizabeth Herrington (IL#6244547)

                                       MORGAN, LEWIS & BOCKIUS LLP
                                       77 West Wacker Drive, Fifth Floor
                                       Chicago, IL 60601
                                       312-324-1000
                                       beth.herrington@morganlewis.com




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